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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

ROBIN JORDAN,                                  Case No. 3:21-cv-653
    Plaintiff,

v.

COMPLETE HEALTH PARTNERS OF
FLORIDA, INC., a/k/a COMPLETE
HEALTH PARTNERS, INC., a/k/a
COMPLETE HEALTH, LLC,
    Defendant.


               COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW the Plaintiff, ROBIN JORDAN (“Plaintiff”), by and through

the undersigned Counsel, and hereby sues COMPLETE HEALTH PARTNERS OF

FLORIDA, INC. (“Defendant”), and alleges the following:

        1.   Plaintiff is an individual resident and citizen of Jacksonville, Duval

County, Florida.

        2.   Defendant is a foreign corporation whose principal place of business

is in Jacksonville, Duval County, Florida.

        3.   This Court has jurisdiction over this lawsuit, pursuant to 28 U.S.C. §

1331.

        4.   The unlawful employment practices alleged in this complaint were

committed within the State of Florida in this judicial district and division.

        5.   Venue is proper in this judicial district and division.


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      6.     Plaintiff timely filed a discrimination charge against Defendant with

the Equal Employment Opportunity Commission (the “EEOC”).                The EEOC

issued Plaintiff a right to sue letter on April 13, 2021. A copy of the notice is

attached hereto as Exhibit 1.

                           GENERAL ALLEGATIONS

      7.     Plaintiff is a female who, at all times material, was the human

resources director for the Defendant.

      8.     As part of her duties as Defendant’s HR director, Plaintiff

investigated a claim of sex discrimination and harassment, which had been

reported by an employee whose initials are D.M.

      9.     After engaging in an initial investigation of the claim, Plaintiff

reported to Defendant’s CEO, Jeff Preuss, that the claim appeared to be bad for the

company.

      10.    Defendant’s CEO, Jeff Preuss, responded that he wanted to make sure

that the claim would not be “material”.

      11.    Following this meeting, Defendant’s CEO, Jeff Preuss, terminated the

Plaintiff on February 5, 2020 in direct retaliation for Plaintiff’s report concerning

her initial investigation of D.M.’s report of discrimination and harassment.

                COUNT I: RETALIATION (42 U.S.C. § 2000e-3)

      12.    Plaintiff realleges paragraphs 1-11 above.




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      13.      This is an action for compensatory damages, punitive damages,

attorney fees and costs, pursuant to Section 2000e-3(a) of Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e, et seq. (the “Civil Rights Act”).

      14.      Defendant is an employer that is subject to Title VII of the Civil Rights

Act of 1964.

      15.      Plaintiff opposed an employment practice that was made unlawful by

the Civil Rights Act.

      16.      Additionally, Plaintiff she made a charge, testified, assisted, or

participated in an investigation, proceeding, or hearing under the Civil Rights Act.

      17.      By reason of Plaintiff’s actions described in the prior to paragraphs,

Defendant discriminated against her.

      18.      As a direct and proximate result of Defendant’s unlawful

discrimination and retaliation against her, Plaintiff has suffered past and future

wage losses, severe emotional distress, reputational damages, loss of capacity to

earn income, loss of enjoyment of life, among many other damages for which she

is entitled to compensation.

      19.      Defendant’s retaliation has continued post-termination, as well. For

example, Defendant intentionally interfered with Plaintiff’s rights under the

Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”) and the

federal American Rescue Plan Act of 2021 (“ARPA”), which in relevant part

provides a 100% subsidy of COBRA premiums for eligible participants, including


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Plaintiff. As a direct and proximate result of Defendant’s further unlawful

discrimination and retaliation against her, Plaintiff incurred economic damages,

including medical bills, in addition to non-economic damages, such as emotional

pain and suffering.

WHEREFORE, Plaintiff demands judgment against Defendant for the following:

            a. Compensatory damages, including general and special damages;

            b. Punitive damages;

            c. Costs of suit;

            d. Reasonable attorney fees; and

            e. Such other and further relief as this Honorable Court deems just and

               proper.

                                DEMAND FOR JURY TRIAL

      20.      Plaintiff demands a trial by jury on all issues so triable as of right.

Dated June 29, 2021.                            THE BONDERUD LAW FIRM, P.A.

                                                /s/ Andrew Bonderud
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